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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO


Donald Guarriello, et al.,

                          Plaintiffs,
vs.                                                                   CIVIL NO. 1:19-cv-01184-SCY-CG

Yashna Asnani, et al.,

                          Defendants.

      DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
         CONDITIONAL CERTIFICATION OF FLSA COLLECTIVE ACTION

        Defendants Yashna Asnani, Jane Doe Asnani, Renu Verma, John Doe Verma, Classic Café

Cuisine, LLC a New Mexico Limited Liability Company (“CCC), Barreras Enterprises, Inc., a

New Mexico Corporation, and New Mexico’s Best Diner, LLC, a New Mexico Limited Liability

Company (“NMB”), (collectively “Defendants”), by and through their counsel of record, Sutin,

Thayer & Browne, A Professional Corporation (Benjamin E. Thomas, Barbara G. Stephenson, and

Noe Astorga-Corral) hereby respond in opposition (the “Response”) to Plaintiffs’ Motion for

Conditional Certification of FLSA Collective Action (the “Motion”) [Doc. 54.]

                                               INTRODUCTION

        This case is an ambitious class and collective action filed by Plaintiffs Donald Guarriello

and Valerie Holloway. In their ambition, Plaintiffs have turned a mole hill into a mountain. What

should be a simple wage action against their respective LLC employees, CCC and/or1 NMB,

Plaintiffs have turned into a class and collective action against the seven (7) Defendants. Indeed,

some of these seven Defendants do not even exist.2 And what should have been a proposed



1
  Plaintiff Guarriello only worked for CCC. See Plaintiff Guarriello’s Onboarding Information Document, attached
as Exhibit A to Defs.’ Mtn. to Dismiss Pls’s Compl. and Compel Arb. [Doc. 36.]
2
  Jane Doe Asnani and John Doe Asnani

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collective class consisting of employees who worked for CCC and NMB in New Mexico, Plaintiffs

have turned into a whopping proposed class consisting of employees who allegedly worked for all

seven Defendants across every single state of this country. Plaintiffs’ ambition is misguided and

has made their positions taken in this litigation untenable, including its current Motion to which

Defendants oppose for the following grounds:

                                    FACTUAL BACKGROUND

       On December 18, 2019, Plaintiffs filed their Class and Collective Action Complaint against

Defendants. (See Compl.) [Doc. 1.] Plaintiffs filed their Complaint not only for themselves but on

behalf of “all other persons similarly situated.” (Compl. at Introductory Paragraph) [Doc. 1.]

Specifically, the Complaint alleges various wage claims under federal and state law, i.e. the federal

Fair Labor Standards Act (“FLSA”) and the New Mexico Minimum Wage Act (“NMMWA”).

(See generally, Compl.) [Doc. 1.] By its own terms, the Complaint is limited to alleged FLSA and

NMMWA violations occurring in New Mexico restaurants operated by New Mexico corporations

resulting in alleged damages to New Mexican plaintiffs. (See generally, Compl.) [Doc. 1.]; (see

also Compl. ¶¶ 32-37) [Doc. 1.]

   Despite their New Mexico-centric Complaint, on March 18, 2020, Plaintiffs served a subpoena

to Denny’s, Inc. in South Carolina seeking all franchise agreements between Denny’s, Inc. and

Defendants. (Defs.’Mtn. to Quash, Ex. A at p. 15) [Doc. 23.] On April 21, 2010, this Court granted

Defendants’ Motion to Quash Plaintiffs’ Subpoena to Produce Documents (“Motion to Quash”)

the subpoena because the subpoena request was overbroad and requested irrelevant information as

it sought franchise agreements for restaurants outside New Mexico. (Clerks Minutes for

Telephonic Mtn. Hr’g) [Doc. 32.]




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    As the Clerks Minutes explained, “the Court found the subpoena was overboard and it

requested irrelevant information for franchise agreements outside New Mexico.” Id. The Court

made clear that Plaintiffs’ Complaint was, by its own terms, limited to FLSA and NMMWA

violations occurring in New Mexico restaurants. (See id.) [Doc. 32.]

    Despite the Court’s clear ruling at the hearing on the Motion to Quash, Plaintiffs now seek this

Court’s approval to send out notice to a proposed class whose scope essentially mirrors their

quashed subpoena request: “Plaintiffs respectfully request that the Court permit them to send

notice of this lawsuit to all servers employed at any of Defendants’ Denny’s restaurants at any

point from December 18, 2016 to present.”3 (Pls.’ Mtn. for Conditional Cert. of FLSA Collective

Action (“Motion” or “Doc. 54”), at p. 21) [Doc. 54.]

    To support its Motion, Plaintiffs have had the benefit of discovery and the opportunity to

request the same for the eight (8) months leading up to this stage of the litigation. This opportunity

for discovery is something that other FLSA collection action plaintiffs do not typically have the

opportunity for at this stage. To support their Motion, Plaintiffs also attach the Declaration of

Jillian Parker. (See Doc. 54, Ex. C.) [Doc. 54-3]. Parker allegedly worked for Defendant Asnani

in Worcester, Massachusetts. (Doc. 54, Ex. C, ¶¶ 2-4) [Doc. 54-3, ¶¶ 2-4.] Massachusetts' public

records, however, reveal that Ms. Asnani is not the owner or employer of any restaurant in

Massachusetts, but at most a managing member of different entities, which are not defendants in



3
  Plaintiffs actual notice, attached as Exhibit I to their Motion, is much broader and defines the class as the following:
“You got this Notice because Defendants identified you as a server that worked at Denny’s at any point between
December 18, 2016 and the present.” [Doc. 54, Ex. I, ¶ 3.] To the extent that Plaintiffs are referring to Defendants as
“Denny’s”, such referral is a blatant attempt by Plaintiffs’ counsel to confuse the proposed class members into thinking
that Defendants are Denny’s, Inc. or other Denny’s franchisees. Because Plaintiffs’ notice is misleading—intentionally
or not—any notice to any proposed class should only refer to Plaintiffs actual employers, CCC and NMB, to avoid
any confusion. The proposed class should simply not refer to “Denny’s” as the employer. Plaintiffs’ reference to
Denny’s highlights Defendants’ concerns that this lawsuit is merely Plaintiffs’ counsel’s attempt to obtain information
that could support their current class action against Denny’s, Inc. or other class and collective actions against other
Denny’s franchisees across the country.

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this action. (See Massachusetts’ Corporations Search Results Page, attached hereto as Exhibit 1.)

Further, Plaintiffs’ counsel are currently prosecuting a nationwide collective action against

Denny’s, Inc. for alleged FLSA violations in the Southern District of Florida (Miami). (See Civil

Docket For Case #: 1:19-cv-24706-DLG, Rafferty v. Denny’s, Inc., attached hereto as Exhibit 2.)

Ms. Parker is also party to that lawsuit. 4 (See id.) Plaintiffs’ proposed notice also states that the

putative class members will be represented by the same five law firms that are currently

prosecuting the nationwide collective action against Denny’s, Inc., which includes Plaintiffs’

counsel’s firms. (Compare Doc. 54, Ex. I at p. 70, ¶ 9; with Ex. 2 at pp. 1-3.)

                                                   ARGUMENT

    Under Section 216(b) of the FLSA, employees may bring actions on behalf of other employees

but only if the other employees are similarly situated to the named plaintiff employees. 29 U.S.C.

§ 216(b). Therefore, to conditionally certify a collective action under Section 216(B), the named

plaintiffs bear the burden of showing that they and the proposed class members are similarly

situated. Landry v. Swire Oilfield Services, L.L.C., 252 F. Supp. 3d 1079, 1114 (D.N.M. 2017).

Only after the named plaintiffs meet their burden, courts in their discretion may approve notice to

the proposed class. See e.g., Briggs v. United States, 54 Fed. Cl. 205, 207 (2002) (citing Hoffmann-

La Roche, Inc. v. Sperling, 493 U.S. 165, 172) (“Even if plaintiffs satisfactorily [make the]

modest factual showing”, the court still has “full discretion to reject plaintiffs’

petition”)(emphasis added); Bernard v. Household Intern., Inc., 231 F. Supp. 2d 433, 435-36

(“approval of notice is not mandatory, but rather discretionary”). “The purpose of this first step is

for the court to determine whether the certification is appropriate for purposes of sending notices




4
  Ms. Parker’s attempt to be a class member in two different suits relating to her employment at a Denny’s restaurant
raises serious concerns about an improper attempt at double recovery by her, and likely others.

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and consent forms to potential plaintiffs.” Foster v. Nova Hardbanding, LLC, No. 15-cv-1047,

2016 WL 4492829, at *2 (D.N.M. Apr. 20, 2016) (citation omitted)

    To determine whether a FLSA collective action is appropriate, courts in the Tenth Circuit

utilize a two-step ad-hoc approach. Theissen v. Gen Elec. Capital Corp., 267 F.3d 1095, 1102-03

(10th Cir. 2001).5 Under this ad-hoc approach, the first step is the “notice stage” wherein plaintiffs

ask the court to exercise its discretion to approve plaintiffs’ notice to send to the proposed class by

demonstrating that plaintiffs and the proposed class are similarly situated. Deakin v. Magellan

Health, Inc., 328 F.R.D. 427, 431 (D.N.M. 2018). Under this first step, which is at issue here,

plaintiffs must make a factual showing demonstrating that the named plaintiffs and “the putative

class members were together the victims of a single decision, policy, or plan.” Id., at 432. To

determine whether Plaintiffs have met this burden, courts consider the complaint’s allegations

supported by sworn statements. Id.; see Calvillo v. Bull Rogers, Inc., 267 F.Supp.3d 1307, 1312

(court-facilitated notice requires “substantial allegations or some factual support” (internal

quotations omitted)); Landry v. Swire Oilfield Services, L.L.C., 252 F.Supp.3d 1079, 1114–15

(D.N.M. 2017) (to acquire court approved notice, plaintiffs must “provide some factual basis from

which the court can determine if similarly situated potential plaintiffs exist” (citation and quotation

marks omitted)).

    Although a plaintiff’s burden is typically described as “lenient or light,” conditional

certification is certainly not automatic as Plaintiff’s burden is not non-existent. Deakin, 328 F.R.D.

at 432. For example, plaintiffs cannot rely on speculative, conclusory, or unsupported allegations

in attempting to demonstrate that they and the proposed class members are similar situated. See



5
  Although Thiessen involved a collective action brought under the Age Discrimination in Employment Act
(“ADEA”), the Tenth Circuit explicitly noted that the ADEA adopts the class action opt-in mechanism set out in §
216(b) of the FLSA. Id. at 1102.

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Lentz v. Spanky's Rest. II, Inc., 491 F. Supp. 2d 663, 669 (N.D. Tex. 2007) (Plaintiff’s conclusory

allegations in his affidavit was insufficient to meet his burden under Section 216(b)); Severtson v.

Phillips Beverage Co., 137 F.R.D. 264, 266 (D. Minn. 1991) (conclusory allegations in complaint

insufficient); Munoz v. Big Valley, Inc., 915 F. Supp. 2d 46 (D.D.C. 2013) (same); Harrison v.

McDonald's Corp., 411 F. Supp. 2d 862, 871 (S.D. Ohio 2005) (holding that “Plaintiff has offered

nothing but speculation in support of her belief that other McDonald's employees were not paid all

the money to which they were entitled”); Flores v. Lifeway Foods, Inc., 289 F. Supp. 2d 1042,

1046 (N.D. Ill. 2003) (holding that unsupported allegations do not satisfy “modest factual

showing” standard).

   Plaintiffs also cannot merely claim that a single policy applied to all defendant’s employees.

See Bamgbose v. Delta-T Group, Inc., 684 F. Supp. 2d 660, 669 (E.D. Pa. Feb. 8, 2010). Instead,

plaintiffs must also demonstrate that such single policy was applied in a manner that violated the

FLSA and injured the proposed class similarly. See White v. Denton Cty., 2014 U.S. Dist. Lexis

43881, at *29 (E.D. Tex. Feb. 28, 2014) (denying conditional certification where plaintiff offered

no evidence that a common policy resulted in FLSA violations as to putative collective members);

Bennett v. Hayes Robertson Group, Inc., 880 F. Supp. 2d 1270, 1285 (S.D. Fla. 2012) (“Plaintiffs

have failed to provide evidence of a unified policy or scheme employed by Defendants that violates

FLSA.” (emphasis added)); Ray v. Motel 6 Operating, Ltd. P'ship, 1996 WL 938231, at *4 (D.

Minn. March 18, 1996) (denying motion where “[t]he evidence does not indicate that all the

Plaintiffs sustained injury from one unlawful policy.” (emphasis added)).

   The rationale for the fairly lenient standard is that in the early stages of litigation, the plaintiffs

have not had time to conduct discovery and marshal their best evidence. See Davis v. Charoen

Pokphand (USA), Inc., 303 F.Supp.2d 1272, 1277 (M.D.Ala., 2004). Consequently, and notably,



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many courts apply a stricter standard where, as is the case here, plaintiffs had the opportunity to

conduct discovery before moving for conditional certification. See e.g., Davis, 303 F. Supp. 2d at

1276 (applying a more rigorous standard); White v. Osmose, Inc., 204 F. Supp. 2d 1309, 1313 n.2

(M.D. Ala. 2002) (requiring careful consideration of the submissions of the parties); Morisky v.

Pub. Serv. Elec. & Gas Co., 111 F. Supp. 2d 493, 497-98 (D.N.J. 2000) (applying a stricter

standard); Holt v. Rite Aid Corp., 333 F. Supp. 2d 1265, 1274 (M.D. Ala. 2004) (finding it

appropriate to carefully consider the submissions of the parties with respect to the collective action

allegations where the parties have conducted extensive discovery). Because Plaintiffs had eight

months to conduct discovery related to conditional certification, (See Compl.) (filed December

2020) [Doc. 1]; (See Scheduling Order) (“the termination date for discovery related to conditional

and class certification is August 14, 2020”) [Doc. 18], this Court should exercise its discretion and

apply a stricter standard in considering their Motion.

       Here, Plaintiffs have failed to meet their burden demonstrating that Plaintiffs and the proposed

class members are similarly situated despite having the opportunity to conduct discovery on this

issue for eight months. First, Plaintiffs’ proposed class is overbroad because it includes employees

who worked at Denny’s restaurants outside of New Mexico. As this Court has already ruled,

however, Plaintiffs’ Complaint is limited to FLSA violations occurring in New Mexico. Second,

even if Plaintiffs’ proposed class were limited to New Mexico employees, Plaintiffs have still

failed to demonstrate and sufficiently allege (1) that there are any potential plaintiffs that would

be interested in joining Plaintiffs’ lawsuit and (2) that there are any potential plaintiffs that are

similarly situated to Plaintiffs.

  I.      The Plaintiffs and putative class members are not similarly situated because
          Plaintiffs’ proposed class is overbroad as it includes non-New Mexico employees.

       A. Plaintiffs’ Complaint is limited to New Mexico Denny’s restaurants.

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    Here, Plaintiffs’ proposed class is overbroad because it seeks to provide notice to putative class

members who worked at Denny’s restaurants outside New Mexico. (See Doc. 54., at p. 21.) By its

own terms, however, Plaintiffs’ Complaint is limited to allegations of conduct occurring in New

Mexico that were directed against New Mexico Plaintiffs, by New Mexico corporations, and in

New Mexico restaurants. (See generally Compl.) [Doc. 1.]; (See also Compl., ¶¶ 32, 34-37). For

example, the Complaint alleges that the “acts giving rise to the claims of Plaintiffs Guarriello and

Holloway, the Collective Members, and the Class Members occurred within the District of New

Mexico.” (Compl. ¶ 32) [Doc. 1]. In contrast, the Complaint contains no allegations regarding

restaurants outside New Mexico or any conduct occurring outside New Mexico. (See generally

Compl.) [Doc. 1.] Plaintiffs’ New Mexico centric Complaint is highlighted by its state law claims

under the NMMWA. (See Compl., Counts 7-9) [Doc. 1.] Indeed, this Court previously quashed

Plaintiffs’ subpoena to Denny’s, Inc. because the Court found that Plaintiffs’ subpoena was

overbroad and sough irrelevant information as it sought franchise agreements between Defendants

and Denny’s, Inc. for Denny’s restaurants outside New Mexico. (Clerks Minutes for Telephonic

Mtn. Hr’g) [Doc. 32.] As the Clerks Minutes described, “the Court found the subpoena was

overboard and it requested irrelevant information for franchise agreements outside New Mexico.”

(Id.)

    As stated in the hearing on the Motion to Quash, the Court based its decision on its finding that

Plaintiffs’ Complaint was limited to New Mexico restaurants and concerned only allegations of

conduct occurring in New Mexico. (See id.) Thus, because the Court found that Plaintiffs’

Complaint focused on New Mexico restaurants, the Court ruled that Plaintiffs’ subpoena request

was improper as overbroad and irrelevant to Plaintiffs’ Complaint. (See id.)




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   For the same reason that Plaintiffs could not obtain franchise agreements for Denny’s

restaurants nationwide, Plaintiffs cannot obtain conditional certification to send notice to putative

collective members nationwide. Plaintiffs’ Complaint concerns only New Mexico. (See generally,

Compl.) [Doc. 1.] Accordingly, this Court should exercise its discretion to deny Plaintiffs from

sending notice to putative collective members that have no bearing to their Complaint, i.e.

employees who worked at Denny’s restaurants outside New Mexico. This flaw in Plaintiffs

Motion is reason enough to deny conditional certification.

   B. The doctrine of law of the case precludes Plaintiffs from denying that their Complaint
      is limited to FLSA violations occurring in New Mexico Denny’s restaurants.
   Plaintiffs are precluded from relitigating the issue of whether their Complaint is limited to

FLSA violations occurring in New Mexico under the doctrine of law of the case. The law of the

case doctrine “applies to issues previously decided, either explicitly or by necessary

implication.” Poppa v. Astrue, 569 F.3d 1167, 1170 (10th Cir. 2009) (internal citations and

quotations omitted). Under the law of the case doctrine, “once a court decides an issue, the same

issue may not be relitigated in subsequent proceedings in the same case.” Ute Indian Tribe of the

Uintah & Ouray Reservation v. Utah, 114 F.3d 1513, 1520 (10th Cir. 1997). “The doctrine is based

on sound public policy that litigation should come to an end and is designed to bring about a quick

resolution of disputes by preventing continued re-argument of issues already decided” and to

discourage forum-shopping by litigants. McIlravy v. Kerr–McGee Coal Corp., 204 F.3d 1031,

1035 (10th Cir.2000) (quotation omitted). “[F]actual findings, like legal determinations, can

establish the law of the case.” F.D.I.C. v. Schuchmann, 224 F. Supp. 2d 1332, 1340 (D.N.M. 2002).

Here, this Court has already necessarily decided that Plaintiffs’ Complaint is limited to New

Mexico restaurants. (Clerks Minutes for Telephonic Mtn. Hr’g) [Doc. 32.] Plaintiffs’ subpoena

was quashed specifically because it sought franchise agreements outside New Mexico and was

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therefore overbroad and irrelevant since the allegations of Plaintiffs’ Complaint were explicitly

and implicitly limited to conduct occurring in New Mexico. (Id.) (Compl. ¶ 32) [Doc. 1]; (See

generally Compl.). Again, “the Court found the subpoena was overboard and it requested

irrelevant information for franchise agreements outside New Mexico.” (Clerks Minutes for

Telephonic Mtn. Hr’g) [Doc. 32.] Plaintiffs, therefore, should be prevented from re-litigating that

same issue in this subsequent proceeding regarding conditional certification. Accordingly,

Plaintiffs are not similarly situated to employees who worked at Denny’s restaurants outside New

Mexico as their Complaint focuses on conduct occurring in New Mexico restaurants.


    C. Even if the Complaint was not limited to New Mexico and Plaintiffs were not
       precluded from arguing the same, Plaintiffs are not similarly situated to Jillian
       Parker and other non-New Mexico Denny’s employees.
    Here, Jillian Parker is the only other server who has expressed an interest in joining Plaintiffs’

lawsuit. (See Doc. 54, Ex. C.) [Doc. 54-3]. In addition, Parker’s declaration is the only evidence

that anyone besides Plaintiffs is interested in Plaintiff’s lawsuit against Defendants. Parker

allegedly worked at a Denny’s restaurant in Worcester, Massachusetts. (Doc. 54, Ex. C, ¶¶ 2-4)

[Doc. 54-3, ¶¶ 2-4.]

    Parker’s declaration6 only highlights how Plaintiffs and the putative class members are not

similarly situated. First, the Complaint’s allegations concern conduct allegedly occurring in New

Mexico, against New Mexico Plaintiffs, by New Mexico corporations, and in New Mexico

restaurants. (Compl., ¶¶ 32, 34-37). However, the only other individual who has expressed a desire

to join Plaintiffs’ lawsuit worked at a Denny’s restaurant in Worcester, Massachusetts, which is


6
  Plaintiffs’ Declarations are irrelevant for purposes of determining whether they are similarly situated to non-New
Mexico employees. First, Plaintiffs cannot competently testify or declare that they observed non-New Mexico
employees being subject to the same policies and working conditions as Plaintiffs. Second, Plaintiffs do not allege
that they have ever spoken or met with anyone outside New Mexico who worked at a non-New Mexico Denny’s
restaurant and who were subject to the same alleged FLSA violations. (See generally Doc. 54, Exs. A-B.) [Doc. 54-
1] [Doc. 54-2.]

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approximately over 2,000 miles away from New Mexico. (Doc. 54, Ex. C, ¶¶ 2-4) [Doc. 54-3, ¶¶

2-4.] Being a server in Massachusetts is also likely vastly different from being a server in New

Mexico. Massachusetts is not only located in a totally different geographic part of the country with

a different population size, local minimum wage differences, and distinct economy but also has

different labor laws than New Mexico. Thus, this Court should take judicial notice of the fact that

a server working at a Denny’s in Massachusetts in the East Coast likely experiences different and

individualized working conditions than servers working in New Mexico in the Southwest due to

the difference in population, geographic region, economy, local laws, and even culture.

    Moreover, in her declaration, Parker only alleges to have worked for Ms. Asnani. (Doc. 54,

Ex. C, ¶¶ 4-5) [Doc. 54-3, ¶¶ 4-5.] Even assuming that Ms. Asnani “employed” Plaintiffs (which

Defendants deny, and is shown to be false – Plaintiffs specifically worked for NMB and/or CCC 7),

Plaintiffs allege that they were also employed by the six other Defendants as a single enterprise or

joint employers. (Compl. ¶ 7,8, 33-56). In contrast, Ms. Parker does not allege to have worked for

Renu Verma, John Doe Verma, Jane Doe Asnani, Barreras Enterprises, Inc., and—more

importantly—CCC and NMB. (See generally Doc. 54, Ex. C.) [Doc. 54-3.] In addition, during her

time allegedly working at a Denny’s restaurant in Massachusetts, that restaurant allegedly went

through a change in ownership and presumably a change in employers from Ms. Asani to Denny’s,

Inc. (Doc. 54, Ex. C, ¶¶ 5-6) [Doc. 54-3, ¶¶ 5-6.] This change of ownership further demonstrates

that Parker had a unique work experience in Massachusetts as compared to Plaintiffs in New

Mexico because not only was Parker not employed by all the Defendants as Plaintiffs allege that

they were but she also was employed by another entity that is not a party to Plaintiffs’ lawsuit:



7
 See Plaintiff Guarriello’s Onboarding Information Document, attached as Exhibit A to Defs.’ Mtn. to Dismiss
Pls.’ Compl. and Compel Arb. [Doc. 36.] and Plaintiff Holloway’s Onboarding Information Document, attached as
Exhibit B to Defs.’ Mtn. to Dismiss Pls.’ Compl. and Compel Arb. [Doc. 36.]

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Denny’s, Inc. Thus, based on the Plaintiffs and Parker’s (albeit conclusory) allegations, Parker and

Plaintiffs had different employers. 8 See Bustillos v. Bd. of Cty. Comm'rs of Hidalgo Cty., 310

F.R.D. 631, 664 (D.N.M. 2015) (among the factors that courts consider during this notice stage

includes whether potential class members have the same employer).

       The difference in employers is even more significant when considering Plaintiffs’ single

enterprise or joint employer theory of liability. (See Compl. ¶ 7,8, 33-56). Since, Parker was not

employed by the six other Defendants besides Ms. Asnani, Plaintiffs’ claims would involve a

theory of FLSA liability that is unique to their alleged employment relationship with Defendants

that would not be present in Parker’s claims. And even more notably, Parker does not allege to

have worked for CCC and NMB9—the entities whose policies are at issue in this lawsuit and whose

policies Plaintiffs rely entirely on to support their request for conditional certification. (See

generally Doc. 54.) Finally, as mentioned above, Massachusetts' public records reveal that Ms.

Asnani is not the owner or employer of any restaurant in Massachusetts, but at most a managing

member of different entities, which are not defendants in this action. (See Massachusetts’

Corporations Search Results Page, attached hereto as Exhibit 1.) The fact that the only interested

party Plaintiffs could find lives over 2,000 miles away and never worked for any of the Defendant

restaurants is clear evidence that the putative collective does not even exist, and the motion should

be denied.

      Even more notably, because Parker and other non-New Mexico employees did not and could

not work for CCC and NMB, CCC and NMB’s handbooks and the policies therein are not



8
 “In cases involving employees at multiple business locations, courts consider whether the plaintiffs have made an
adequate factual showing to support an inference that the locations share common ownership or management.”
Pettenato v. Beacon Health Options, Inc., 425 F. Supp. 3d 264, 281 (S.D.N.Y. 2019) (internal citations and quotations
omitted.)

9
    Nor could she, as CCC and NMB are New Mexico corporations.

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applicable to Parker or other non-New Mexico employees. Thus, Plaintiffs and non-New Mexico

employees are not and could not together be the victims of a single decision, policy, or plan. See

See Bustillos, 310 F.R.D. at 664 (among the factors that courts consider during this notice stage

includes whether potential class members were subject to the same employer practices); England

v. New Century Fin. Corp., 370 F. Supp. 2d 504, 511 (M.D. La. 2005) (denying conditional

certification because there was “no evidence of a national policy that would support a collective

action”). Plaintiffs, therefore, have failed to make a colorable claim showing that Parker and non-

New Mexico employees were subject to the same company policies as Plaintiffs as they worked

for different companies.

   Finally, Parker and other non-New Mexico employees would be subject to different legal

defenses. For example, CCC and NMB’s handbooks contained an employment application with

an arbitration provision. (See Defs.’ Mtn. to Dismiss Pls.’ Compl. and Compel Arb., Exs. A-B, C-

D). Since Ms. Parker and other non-New Mexico employees did not work for CCC and NMB,

those putative collective members may or may not have been subject to a similar arbitration

provision. Second, because Ms. Parker allegedly worked for Ms. Asnani from 2016 to 2018, (Doc.

54, Ex. C, ¶ 3) [Doc. 54-3, ¶ 3], and opted into the proposed collective in 2020, a statute of

limitations defense would apply only to Ms. Parker and other non-New Mexico employees who

would necessarily opt-in in 2020 or even 2021 for allegations stemming from 2016. Third, this

Court likely would not have personal jurisdiction over any non-New Mexico entity that operated

or operates a Denny’s restaurant and employs putative collective members outside New Mexico.

Thus, despite Plaintiffs’ lenient burden, Plaintiffs and putative collective members are not

similarly situated. Far from demonstrating that Plaintiffs and putative collective member are

similarly situated, the Complaint’s allegations and Parker’s declaration actually highlight the



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individualized nature and uniqueness of Plaintiffs’ claims. Plaintiffs have simply not provided

sufficient evidence or allegations demonstrating that Plaintiffs and non-New Mexico Denny’s

employees are similarly situated. Accordingly, a collective action is not appropriate for this case,

and this Court should deny Plaintiffs’ Motion.

       That is, there is no unity of employment or ownership amongst the Defendants. Plaintiffs

(improperly) allege to have worked for all named Defendants. Ms. Parker only alleges to have

worked for Ms. Asnani, who does not even operate a restaurant in Massachusetts. (See Ex. 1) The

proposed collective clearly is not similarly situated to the named Plaintiffs as they do not even

claim to work for the same employers.

 II.       Even if Plaintiffs’ proposed collective was limited10 to employees who worked for
           CCC and NMB in New Mexico, they failed to provide sufficient allegations and
           evidence demonstrating that they are similarly situated to that more limited
           collective.

       A. Plaintiffs have not demonstrated that there exist other potential New Mexico
          plaintiffs that desire to opt-in.
       Before they can conditionally certify a proposed class, many courts require that Plaintiffs

present some evidence that potential plaintiffs exist that would desire to opt-in to the named

plaintiffs’ lawsuit. See e.g., Brooks v. BellSouth Telecommunications, Inc., 164 F.R.D. 561, 567

(N.D. Ala. 1995), aff'd sub nom. Brooks v. Bellsouth, 114 F.3d 1202 (11th Cir. 1997) (“In order to

be entitled to conditional class certification plaintiff has to submit evidence establishing at least a

colorable basis for his claim that a class of similarly situated plaintiffs exist.”); Lentz v. Spanky's

Rest. II, Inc., 491 F. Supp. 2d 663, 669 (N.D. Tex. 2007) (“The court must satisfy itself that other

“similarly situated” individuals justify notice because they desire to opt-in and are “similarly

situated.”); Parker v. Rowland Express, Inc., 492 F. Supp. 2d 1159, 1164–65 (D. Minn. 2007)



10
     Should Plaintiffs narrow their overbroad class, Defendants may seek leave to file a surrreply.

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(same); Camper v. Home Quality Mgmt. Inc., 200 F.R.D. 516, 519 (D. Md. 2000) (same). This

requirement prevents courts from “stirring-up litigation through unwarranted solicitation.”

Severtson, 137 F.R.D. at 267 (noting that courts “have a responsibility to avoid the ‘stirring up’ of

litigation through unwarranted solicitation”). Thus, these courts require plaintiffs to demonstrate

that at least more than one potential class member seeks to join the named plaintiffs’ lawsuit.

See Simmons v. T-Mobile USA, Inc., 2007 WL 210008 *9 (S.D.Tex. Jan.24, 2007) (discussing and

citing authority for the requirement that there should be a showing “that at least a few similarly

situated individuals seek to join the lawsuit”) (emphasis added to distinguish a few from one); H

& R Block, 186 F.R.D. at 400 (finding no notice where plaintiff failed to identify potential

plaintiffs); Harper v. Lovett's Buffet, Inc., 185 F.R.D. 358, 361-62 (M.D.Ala.1999) (showing of

other        plaintiffs        who         desire         to        opt-in        is        required).

To show that other similarly situated plaintiffs who desire to opt-in exists, Plaintiffs cannot rely

on speculations as to the existence of these potential plaintiffs. See Parker v. Rowland Express,

Inc., 492 F. Supp. 2d 1159, 1165 (D. Minn. 2007) (plaintiffs’ averments in affidavits that other

potential plaintiffs “may” exist is insufficient to establish existence of potential plaintiffs).

Although district courts in the Tenth Circuit have been reluctant to apply this requirement when

exercising their discretion, this Court should consider Plaintiffs’ lack of allegations that interested

potential New Mexico Plaintiffs exist because (1) Plaintiffs had the opportunity to conduct

discovery; (2) the Court should avoid inviting unnecessary litigation; and (3) “an FLSA plaintiff

is not entitled to conditional certification simply to seek out others who might wish to join the

action,” e.g., Mackenzie v. Kindred Hosps. East, L.L.C., 276 F.Supp.2d 1211, 1220

(M.D.Fla.2003)




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    Here, Plaintiffs have provided no evidence nor made substantial allegations demonstrating that

there exist other potential New Mexico plaintiffs that desire to opt-in to Plaintiffs’ lawsuit. (See

generally Doc. 54, Exs. A-B.) [Docs. 54-1, 54-2.] Plaintiffs do not declare, or otherwise allege,

that any other employee who worked in New Mexico for any of the Defendants are interested in

opting-in. (See generally Doc. 54, Exs. A-B.) [Docs. 54-1, 54-2.] Despite allegedly working at

various New Mexico locations for several years and residing in New Mexico, (Comp. ¶) [Doc. 1],

Plaintiffs have not alleged that any other person who worked for any of the Defendants in New

Mexico want to join their lawsuit. (See generally Doc. 54, Exs. A-B.) [Docs. 54-1, 54-2.]; See

Parker, 492 F. Supp. 2d at 1166–67 (finding it reasonable to require plaintiffs to show that other

interested potential plaintiffs exist where plaintiffs worked for defendant for five years and,

therefore, likely knew the identify of several other co-workers). Plaintiffs’ declarations pertaining

to other New Mexico servers are merely speculative, conclusory, and self-serving allegations that

other servers go through the same working conditions and are subject to the same policies as

Plaintiffs. (See generally Doc. 54, Exs. A-B.) [Docs. 54-1, 54-2.] However, Plaintiffs have not

alleged that other New Mexico employees desire to join their proposed collective action. (See

generally Doc. 54, Exs. A-B.) [Docs. 54-1, 54-2.]

    Indeed, Parker, who is a Massachusetts employee, is the only person besides Plaintiffs that

appears interested in Plaintiffs’ proposed collective action. Plaintiffs, therefore, have not

demonstrated that potential New Mexico plaintiffs exist and desire to join this lawsuit. That is

Plaintiffs have failed to show that Plaintiffs who worked from the same companies and were

subject to the same policies have any desire or interest in joining Plaintiffs’ lawsuit. This failure is

made worse by the fact that Plaintiffs had eight months to conduct discovery on this very same

issue.



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   B. Instead of showing that Plaintiffs and putative class members are similarly situated,
      Plaintiffs’ declarations demonstrate the individualized nature of their claims and
      work experiences.
   Far from showing that Plaintiffs and putative class members in New Mexico are similarly

situated, Plaintiffs’ Motion and their declarations actually reveal the individualized nature of

Plaintiffs’ claims and work experiences. To meet their burden of demonstrating that they are

similarly situated to potential opt-in Plaintiffs, Plaintiffs rely merely on the fact that CCC and

NMB’s handbook policies apply to all of CCC and NMB’s employees. (See generally Doc. 54.)

However, Plaintiffs do not allege that these handbooks facially violate the FLSA. (See generally

id.) To sustain their FLSA claims, therefore, Plaintiffs must allege that these policies were applied

illegally and were applied illegally to the proposed class members. See Bennett v. Hayes Robertson

Group, Inc., 880 F. Supp. 2d 1270, 1285 (S.D. Fla. 2012) (“Plaintiffs have failed to provide

evidence of a unified policy or scheme employed by Defendants that violates FLSA.” (emphasis

added)). Thus, to meet their burden, Plaintiffs were required to substantially allege or provide

evidence showing that Defendants allegedly uniform policies were applied in a manner that

violated Plaintiffs and the proposed class members’ FLSA rights. Plaintiffs, however, have failed

to do that. (See generally Doc. 54.)

   Specifically, Plaintiffs’ allegations concerning how they and other servers are similarly

situated are either conclusory, speculative, or actually demonstrate the individualized nature of

Plaintiffs’ specific disputes. (See generally Doc. 54.) And the few specific allegations in Plaintiffs’

declarations actually reveal the individualized nature of Plaintiffs claims. First, both Plaintiffs

allege that the amount of time spent performing non-tipped side work depended on the particular

side-work assignment, which in turn depended on the particular section, the particular shift that

they worked, and the amount of customers present at that particular time. (Doc. 54, Ex A, ¶¶ 11,

14) [Doc. 54-1, ¶¶ 11, 14.]; (Doc. 54, Ex B, ¶¶ 11, 14) [Doc. 54-2, ¶¶ 11, 14.] Plaintiffs each

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worked different shifts. (Doc. 54, Ex A, ¶ 12) [Doc. 54-1, ¶ 12]; (Doc. 54, Ex B, ¶ 12) [Doc. 54-

2, ¶ 12.] In other words, Plaintiffs admit that they had different duties and these duties impacted

whether they performed side-work and the amount of time they spent performing the same. See

Pfohl v. Farmers Ins. Group, 2004 WL 554834, at *9 (C.D. Cal. Mar 1, 2004)(differing job duties

and the individualized inquiries precluded collective action); Freeman v. Wal-Mart Stores, Inc.,

256 F. Supp. 2d 941, 944-46 (W.D. Ark. 2003)(denying request for notice where there were

material differences in duties and responsibilities). Not surprisingly, the amount of side-work that

Plaintiffs allege to have performed differs between the two of them. Compare (Doc. 54, Ex A, ¶

14) [Doc. 54-1, ¶ 12], with (Doc. 54, Ex B, ¶ 14) [Doc. 54-2, ¶ 14.]

   Second, both Plaintiffs allege that they were required to reimburse Defendants from their tips

for customer walk-outs, cash-register shortages, and customers being under charged. (Doc. 54, Ex

A, ¶¶ 26-27) [Doc. 54-1, ¶¶ 26-27]; (Doc. 54, Ex B, ¶¶ 26-27) [Doc. 54-2, ¶¶ 26-27.] Plaintiffs

provide specific examples of instances where they were required to reimburse Defendants for these

occasions. These examples, however, show that reimbursement depended on (1) whether or not a

particular manager decided to withhold their tips and (2) whether or not customers actually

walked-out or were undercharged. See (Doc. 54, Ex A, ¶¶ 26-27) [Doc. 54-1, ¶¶ 26-27]; (Doc. 54,

Ex B, ¶¶ 26-27) [Doc. 54-2, ¶¶ 26-27.] The individualized nature of these allegations is highlighted

by the alleged amounts that Plaintiffs’ managers required Plaintiffs to reimburse. Plaintiff

Guarriello reimbursed $ 70.00 while Plaintiff Holloway reimbursed a total $75.00, see Doc. 54,

Ex B, ¶¶ 26-27) [Doc. 54-2, ¶¶ 26-27.] See Sheffield v. Orius Corp., 211 F.R.D. 411, 412-14 (D.

Or. 2002) (denying notice where each claim would require extensive consideration of

individualized issues of liability and damages.) Indeed, Plaintiffs did not even work at the same

restaurant locations and for the same two entities. While both Plaintiffs worked at the Coors



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location for CCC in Albuquerque, only Plaintiff Guarriello worked at the Cerrillos location for

CCC in Santa Fe, and only Plaintiff Holloway worked at the Towne Center location for NMB in

Albuquerque. See Plaintiff Guarriello’s Onboarding Information Document, attached as Exhibit

A to Defs.’ Mtn. to Dismiss Pls.’ Compl. and Compel Arb. [Doc. 36.] and Plaintiff Holloway’s

Onboarding Information Document, attached as Exhibit B to Defs.’ Mtn. to Dismiss Pls.’ Compl.

and Compel Arb. [Doc. 36.] Plaintiffs, therefore, worked for different locations and different

companies. This difference further shows the individualized nature of Plaintiffs’ work experiences.

Thus, Plaintiffs and putative New Mexico collective members are not similarly situated.

Accordingly, this Court should deny conditional certification for this reason as well. 11

                                                        CONCLUSION

        For the foregoing reasons, this Court should enter an order denying Plaintiffs’ Motion for

Conditional Certification of FLSA Collective Action and deny Plaintiffs from sending their

proposed notice to putative class members.



                                                              SUTIN, THAYER & BROWNE
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  Should this Court be inclined to grant conditional certification, Defendants oppose posting the notice within CCC
and NMB’s premises because it unnecessary as Plaintiffs can send the notice online and via mail.

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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 8th day of January, 2021, the foregoing was filed
electronically pursuant to the CM/ECF procedures for the District of New Mexico, which caused
counsel of record to be served by electronic means, as more fully reflected on the Notice of
Electronic Filing.

SUTIN, THAYER & BROWNE
A Professional Corporation


By __/s/ Benjamin E. Thomas________________
       Benjamin E. Thomas




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